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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                  BID PROTEST



                                                                  REDACTED VERSION

 QUANTICO TACTICAL, INC.,

                   Plaintiff,                      Case No.     20-120 C
            v.                                     Judge

 THE UNITED STATES OF AMERICA,

                   Defendant.




                                          COMPLAINT

       1.        Quantico Tactical, Inc. (“Quantico”) protests the actions of the Defense Logistics

Agency (“DLA”) in connection with Solicitation No. SPE8EJ-18-R-0001 (“RFP”) for the Special

Operations Equipment (“SOE”) Tailored Logistics Support (“TLS”) Program.




       2.        The SOE TLS Program provides for multiple award indefinite delivery, indefinite-

quantity contracts for special operations equipment. Quantico is one of the current six incumbent

contractors in the ongoing SOE TLS Program, and is one of DLA’s top performing contractors

based on objective metrics. Quantico has had consecutive on-time SOE TLS delivery rates of

                                                                                             —far


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exceeding the contractual 90% requirement and exceeding the on-time delive1y rate of any other

SOE TLS contractor. Due to its outstanding perfo1mance, DLA has designated Quantico as one

of its most exceptional suppliers. DLA recently recognized Quantico as one of its twelve highest

perfo1ming contractors among all of DLA's contracts-not just in the SOE TLS program-under

the Superior Supplier Incentive Program ("SSIP").

       3.      The present RFP renews the SOE TLS program-again DLA is seeking the sam e

type of airnngement with multiple awardees which compete for each order issued under that

program . Because the new SOE TLS contracts will utilize the same approach as the prior ones,

DLA identified Past Performance as, far and away, the most impo1iant evaluation factor for the

RFP. Given the multiple awai·d structure of the SOE TLS program in which fair and reasonable

prices ai·e achieved by competition at the order level, DLA's stated concerns in the RFP focused

on whether offerors had previously demonstrated the ability to quickly issue quotes for any request

placed by an agency, and meet on-time delive1y requirements. As DLA 's objectively best supplier

under the cunent SOE TLS program based on these meti·ics, Quantico was well-positioned for the

next SOE TLS program.

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       9.




       10.



Quantico filed a bid protest before the Government Accountability Office ("GAO") on December

23 , 2019, which raised these issues. See Ex. 1 (GAO Bid Protest, B-418369.1). In response, DLA

objected to eve1y single document request submitted by Quantico and did not provide the

info1mation necessruy for Quantico to pursue its bid protest on these issues. For example, DLA

refused to provide detailed evaluation materials such as price calculations, the proposals of any

other offeror other than Quantico, and documents related to Quantico's

                                      . Quantico objected repeatedly to the paucity of DLA's

document production during the GAO process. Quantico is thus pursuing its bid protest before




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this Comi because it has become clear that it will not receive required documents or be able to

litigate its claims-as is its right-related to the SOE TLS procurement before the GAO.

       11.     Based on these and other reasons, Quantico submits that DLA's actions were

arbitnuy , capricious, an abuse of discretion, and contraiy to law. See 28 U.S .C. § 1491(b)(4)

(inco1porating by reference 5 U.S .C. § 706). Accordingly, Quantico respectfully requests that the

Comi grant appropriate relief including a pe1manent injunction ordering DLA to:




                                            PARTIES

       12.     Quantico is a co1poration organized under the laws of No1ih Cai·olina with its

principal offices located at 9796 Aberdeen Rd., Aberdeen, NC 28315. Quantico is a leading

provider of equipment for militaiy and federal agencies via its extensive government contracts,

and is an incumbent contractor under the cmTent TLS contract with an exemplaiy past perfo1mance

record of on time deliveries. Quantico is also a major provider of weapons and tactical gear to

state and local law enforcement agencies.

       13.     Defendant is the United States of America, acting by and through the Depai·tment

of Defense and the Defense Logistics Agency, both agencies of the United States government.

This Complaint may refer to the Defendant as the "United States," "Defendant," "Defense

Logistics Agency," or "DLA." DLA issued the RFP and violated federal acquisition law in

connection with this procurement.


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                                        JURISDICTION

       14.     Jurisdiction in this Court is proper under 28 U.S .C. § 1491(b). Quantico alleges that

an Executive Department of the United States Government acted in a manner that is arbitnuy,

capricious, and in violation of one or more statutes or regulations governing this procurement,

including 10 U.S .C. § 2305, 48 C.F.R. § 3.101-1, 48 C.F.R. § 15.304, 48 C.F.R. § 15.305, and 48

C.F.R. § 15.306.

       15.     The Comi of Federal Claims has exclusive jurisdiction over objections to "any

alleged violation of statute or regulation in connection with a procurement or a proposed

procurement." 28 U.S.C. § 1491(b)(l).

       16.     Quantico is an "interested paiiy" under 31 U.S.C. § 3551(2)(A) because it is an

actual offeror whose direct economic interest has been affected by DLA's decision -

                                                               . Quantico is more than capable of

performing the SOE TLS contract and fully intends to continue to compete for and perfo1m this

work if pe1mitted. Quantico also has competed for this type of work in prior DLA competitions,

and cmTently provides similai· services to DLA as one of the cmTent SOE TLS contractors as well

as the TLS Program for Fire and Emergency Services. Quantico's direct economic interests are

therefore affected by any dete1mination by DLA to awai·d this work to another offeror.

                                          I.
                                 FACTUAL BACKGROUND

       A.


               1.     Quantico's Leading Role in SOE TLS Contracts

       17.     Quantico has a histo1y of exceptional perfo1mance under SOE TLS contracts where

it is cmTently one of six contract holders for the TLS program.




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       18.   Under the cmTent SOE TLS program, Quantico has fulfilled more t h a n .




       19.




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      21.    In addition to the exceptional ratings, DLA recognized Quantico as one of its twelve

highest perfonning contractors among all ofDLA 's contrncts-notjust in the SOE TLS program-

under the Superior Supplier Incentive Program ("SSIP"), which was "designed to recognize




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higher-performing industiy partners based on past perfo1mance evaluations, with the intent of

incentivizing superior perfo1mers." Ex. 2; Ex . 3. The head ofDLA 's Acquisitions Directorate also

explained that SSIP provided DLA "with an opportunity to highlight conn-actors who consistently

perfo1m well and are DLA's stl'ong partners to provide our warfighters with the food, clothing,

fuel, repair pa1ts and other commodities they need to perfo1m their missions effectively." Ex . 2.

Quantico was the most recent SOE TLS supplier to be honored as one of DLA's 12 top Gold

Awar d suppliers under the SSIP. Id.

       22.     In recognition of its performance histo1y , DLA awarded a new bridge SOE TLS

contl'act (No. SPE8EJ-1 9-D-0006) to Quantico in March 2019. Also in March 2019, DLA awarded

Quantico a similar TLS conti·act for Fire & Emergency Services Equipment (Conti·act No.

SPE8EH-1 9-D-001 8).



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       B.     The SOE TLS RFP And Its Evaluation Factors

       32.    On November 16, 2018, DLA issued the RFP for the cunent SOE TLS procurement

with an original proposal submission deadline of Januaiy 8, 2019.   After multiple amendments,


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the closing date was extended until Januaiy 18, 2019. The RFP provided for the awai·d of multiple

SOE TLS contrncts with a minimum of at least three winning offerors.              Moreover, the RFP was

set-aside as a "Total Small Business Set-Aside" procurement.

       33.     While the RFP did not require discussions, DLA reserved "the right to conduct

discussions if later detennined by the Contracting Officer to be necessa1y." The RFP explained

that a competitive range detennination would only be made if DLA intends to engage in

discussions: "If required because discussions will be conducted, the Contracting Officer will make

a competitive range detennination based on these evaluations. Unless awards are made on the

basis of initial proposals, written and/or oral discussions will be conducted with all offerors in the

competitive range."    In other words, once DLA down-selected proposals, it had to conduct

discussions with all of the remaining offerors.

       34.     The RFP further stated: "Awards will be made to offerors whose proposals are

most advantageous to the Government considering non-price evaluation factors and price." The

source selection process is to be perfonned using a "Best Value Tradeoff' procedure. The RFP

made clear that "the non-price factors [will be] significantly more important than price." In

paiiiculai·, the RFP set forth the following non-price evaluation factors and subfactors m

descending order of impo1iance:

               NON-PRICE EVALUATION:
               The following evaluation factors/subfactors shall be used to evaluate offers:

                          I. Past Performance - Confidence Assessment
                          II. Technical Merit
                               (a) Product Sourcing
                               (b) Distribution


       35.     For the Past Perfonnance evaluation factor, the RFP provided that the "Confidence

Assessment" for each offeror would be rated as either "Substantial Confidence, Satisfacto1y

Confidence, Lirnited Confidence, No Confidence, or Neutral Confidence." In particulai·, offerors


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were instm cted to provide infonnation regarding the offerors' "top three (3) highest dollar value

supply contracts perfonned at some point within the five years preceding the initial solicitation

closing date for Special Operational Equipment." The individual contracts were to be evaluated

for relevancy based on "recency, type and variety of products supplied, annual dollar value, length,

volume of delive1y orders, and number of delive1y points." The contracts' relevancy were to be

rated as either "Ve1y Relevant, Relevant, Somewhat Relevant, or Not Relevant." The RFP 's only

basis for not considering a contract was a finding that the contract was "not relevant."

       36.     In addition to relevancy, the individual contracts were to be rated based on quality

of perfo1mance considering: "the degree to which the offeror met the te1ms of delive1y, quality

standards, and was able to achieve customer satisfaction in its perfo1mance of these past contracts."

For perfonnance, the individual contracts were to be rated as either "Outstanding, Good,

Acceptable, Marginal, or Unacceptable." The RFP does not provide for any individual

perfo1mance rating of "Neutral."

       37.     For the evaluation of Technical Merit, the RFP provided that two separate

sub factors would be used: (a) Product Sourcing and (b) Distribution. DLA was to provide a rating

for each subfactor as either "Outstanding, Good, Acceptable, Marginal or Unacceptable."

       38.     For Product Sourcing, the RFP provided for a review of "the degree to which the

offeror 's plan meets the requirements, indicates an adequate approach and understanding of those

requirements and the risk of unsuccessful perfo1mance." The RFP set fo1ih two specific metrics

with which it was concerned: a 90% Quote Rate Perfo1mance Metric and a 95% Fill Rate Metric.

The RFP also described the following six elements to be considered in the evaluation: "the

purchasing system clear lines of authority (Element 1), regular audits and recuning training

(Element 2), ample suppliers (Element 3), electronic systems (Element 4), accurate system of




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documentation (Element 5), and clear guidance and communication to subcontractors (Element

6)."

       39.     For the Distribution subfactor, the RFP provided that DLA would review "the

degree to which the offeror 's plan meets the requirements, indicates an adequate approach and

understanding of those requirements and the risk of unsuccessful perfonnance." Specifically,

DLA was to review "the offeror's plan to meet the delive1y requirements including routine, m gent,

emergency orders, and consolidated bill of material requirements and plan to meet the on-time

delive1y metric of 90% and ensm e control over subcontracting."

       40.     The RFP also provided for evaluating offeror's pncmg proposals.             Pricing

proposals were to be reviewed to ensm e that the offerors proposed pricing for a minimum of 90%

of the line items in the Price Evaluation List ("PEL") or acceptable alternatives and proposed

pricing for the Incidental Service Scenario. The prices would then be reviewed using price analysis

methods as well as reviewing for balance. A Total Evaluated Price was to be assessed based on

the following fo1mula: "Overall Aggregate Ceiling Price of Commonly offered PEL Line Items

and Acceptable Alternates + Total Price for the Incidental Service = Total Evaluated Price."

       C.      Quantico's Proposal in Response to the SOE TLS RFP

       41.     In its Proposal in response to the cmTent SOE TLS RFP, Quantico explained its

exceptional past perfo1mance as described in frfr 17-22 of this Complaint.

       42.     As a sho1i summaiy, Quantico




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       A.
       44.    The RFP provided that the individual contrnct Past Perfonnance ratings would

range between "Outstanding, Good, Acceptable, Marginal, or Unacceptable," and that individual

contracts would be assessed as either "Ve1y Relevant, Relevant, Somewhat Relevant, or Not

Relevant." DLA explained that the "Neutral rating [was] not treated favorably or unfavorably with

respect to the Confidence Assessment."




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      48.    The RFP made clear that "the non-price factors [will be] significantly more

important than price," and the Past Perfo1mance Confidence Assessment would be the most




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impo1iant aspect of DLA 's evaluation.




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       87.     In this procurement, DLA stated "the non-price factors [are] significantly more

impo1tant than price." Moreover, DLA stated: "Factor I [Past Perfo1mance] is more impo1tant

than Factor II [Technical Merit]." DLA also stated that it would conduct discussions with all

remaining offerers after establishing the competitive range.




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                              III.



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       96.    Under the RFP, DLA was to evaluate prices "utilizing accepted price analysis

methods" including "an analysis to determine if prices are unbalanced." This analysis was to

include comparisons of "offers to each other, comparison with market research and comparison

with prior procurements." Moreover, the RFP required DLA to calculate the price for each offer

as follows:

              The Total Evaluated Price is based on the following fo1mula:
              Overall Aggregate Ceiling Price of Commonly offered PEL Line
              Items and Acceptable Alternates + Total Price for the Incidental
              Service = Total Evaluated Price.

The RFP defined Common Line Items as items "where all offerors submitted a Ceiling Price . . .

or Acceptable Alternate."

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101.




102.




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        104.




-       105.




                                     CLAIMS FOR RELIEF

                                            COUNT!




        106.     Quantico inc01porates by reference paragraphs 1- 105 of the Complaint as if fully

set fo1i h herein.




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        107.     48 C.F.R. § 15.305(a) states: "An agency shall evaluate competitive proposals and

then assess their relative qualities solely on the factors and subfactors specified in the solicitation."

        108.     Similarly, 10 U.S.C. § 2305(b)(1) requires: "The head of an agency shall evaluate

sealed bids and competitive proposals and make an award based solely on the factors specified in

the solicitation."

        109.     DLA acted arbitrarily, capriciously, and contnuy to law when it evaluated

Quantico's Proposal including by:

            a.




            C.




        110.     DLA's failme to properly evaluate Quantico's Proposal in a reasonable manner

prejudiced Quantico because it denied Quantico the opportunity to fairly compete for the award of

the contract.

        111.     Quantico has no adequate remedy at law to challenge DLA's action.

        112.     The public interest will be served by proper enforcement of procmement law.




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        113.     DLA will not be prejudiced by complying with procmement laws.

                                              COUNT II




        114. Quantico inco1porates by reference paragraphs 1-113 of th e Complaint as if fully set

forth herein.

        115.     48 C.F.R. § 15.305(a) states: "An agency shall evaluate competitive proposals and

then assess their relative qualities solely on the factors and subfactors specified in the solicitation."

        116.     Similarly, 10 U.S.C. § 2305(b)(1) requires: "The head of an agency shall evaluate

sealed bids and competitive proposals and make an award based solely on the factors specified in

the solicitation."

        117.     Additionally, agencies must "award a contract . . . considering only cost or price

and the other factors included in the solicitation." 10 U.S.C. § 2305(b)(4)(C).

        118.     DLA acted arbitrarily, capriciously, and contra1y to law when it evaluated

Quantico 's Proposal including by:

            a.




        119.     DLA's failme to properly evaluate Quantico's Proposal according to the te1ms of

th e RFP prejudiced Quantico because it denied Quantico th e opportunity to fairly compete for the

award of the contract.

        120.     Quantico has no adequate remedy at law to challenge DLA's action.

        121.     The public interest will be served by proper enforcement of procmement law.

        122.     DLA will not be prejudiced by complying with procmement laws.



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                                             COUNTIII




        123. Quantico inco1porates by reference paragraphs 1-122 of the Complaint as if fully set

fo1th herein.

        124.     In its evaluation of Past Perfonnance, 48 C.F.R. § 15.305(a)(2) states that agencies

must consider "cunency and relevance of the infonnation, source of the information, context of

the data, and general trends in contractor's perfonnance."

        125.     When an agency issues an RFP, 10 U.S.C.§ 2305(a)(2)(A) requires that the agency

"at a minimum" include "a statement of . .. the relative impo1tance assigned to each of [the] factors

and sub factors."

        126.     In this procurement, DLA stated "the non-price factors [are] significantly more

impo1tant than price."     Moreover, DLA stated: "Factor I [Past Perfonnance] is more impo1tant

than Factor II [Technical Merit]."

        127.     48 C.F.R. § 15.305(a) states: "An agency shall evaluate competitive proposals and

then assess their relative qualities solely on the factors and subfactors specified in the solicitation."

        128.     Similarly, 10 U.S.C. § 2305(b)(l ) requires: "The head of an agency shall evaluate

sealed bids and competitive proposals and make an award based solely on the factors specified in

th e solicitation."

        129.     DLA acted arbitrarily, capriciously, and contraiy to law when -




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        130.     DLA's failme to properly evaluate Quantico's Proposal according to the te1ms of

the RFP prejudiced Quantico because it denied Quantico the opportunity to fairly compete for the

award of the contract.

        131.     Quantico has no adequate remedy at law to challenge DLA's action.

        132.     The public interest will be served by proper enforcement of procmement law.

        133.     DLA will not be prejudiced by complying with procmement laws.

                                            COUNT IV




        134.     Quantico inc01p orates by reference paragraphs 1-133 of the Complaint as if fully

set fo1i h herein.

        135.     48 C.F.R. § 15.304(b) states: "Evaluation factors and significant subfactors

must ... [s]uppo1i meaningful comparison and discrimination between and among competing

proposals."

        136.     Similarly, 10 U.S.C. § 2305(a)(l)(A)(i) requires that a soliciting agency, "specify

the agency's needs and solicit bids or proposals in a manner designed to achieve full and open

competition for the procmement."

        137.




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        139.     Quantico has no adequate remedy at law to challenge DLA's action.



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        140.     The public interest will be served by proper enforcement of procmement law.

        141.     DLA will not be prejudiced by complying with procmement laws.

                                            COUNTV




        142.     Quantico inco1porates by reference paragraphs 1-141 of the Complaint as if fully

set fo1i h herein.

        143.     If a contracting agency decides to establish a competitive range, 48 C.F.R. §

15.306(c)(l) states: "Based on the ratings of each proposal against all evaluation criteria, the

contracting officer shall establish a competitive range comprised of all of the most highly rated

proposals, unless the range is fmiher reduced for pmposes of efficiency pmsuant to paragraph

(c)(2) of this section."

        144.     DLA decision




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        146.
                 Quantico has no adequate remedy at law to challenge DLA's action.

                 The public interest will be served by proper enforcement of procmement law.

        147.     DLA will not be prejudiced by complying with procmement laws.

                                           COUNT VI



        148.     Quantico inc01porates by reference paragraphs 1-147 of the Complaint as if fully

set fo1i h herein.




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        149.   48 C.F.R. 15.306(b)(l)(i) mandates that agencies conduct communications before

establishment of the competitive range with "offerers whose past perfo1mance info1mation is the

dete1mining factor preventing them from being placed within the competitive range.              Such

communications shall address adverse past perfo1mance infonnation to which an offerer has not

had a prior opportunity to respond."

        150.   48 C.F.R. 15.306(b)(3)(i) pe1mits agencies to conduct communications to address:

"Ambiguities in the proposal or other concerns (e.g., perceived deficiencies, weaknesses, e1Tors,

oinissions, or inistakes (see 14.407))."

        151.   48 C.F.R. 15.306(b)(l)(ii) states that communications " [m]ay be held with those

offerers (other than offerers under paragraph (b)(1)(i) of this section) whose exclusion from, or

inclusion in, the competitive range is uncertain."

        152.   The RFP specifically required DLA to hold discussions with all offerers within the

competitive range: "If required because discussions will be conducted, the Contracting Officer

will make a competitive range detennination based on these evaluations. Unless awards are made

on the basis of initial proposals, written and/or oral discussions will be conducted with all offerers

in the competitive range." RFP at 59

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        155.




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        157.
                 Quantico has no adequate remedy at law to challenge DLA's action.

                 The public interest will be served by proper enforcement of procurement law.

        158.     DLA will not be prejudiced by complying with procurement laws.

                                             COUNT VII



        159.     Quantico inco1porates by reference paragraphs 1-158 of the Complaint as if fully

set fo1i h herein.

        160.     48 C.F.R. § 3.101-1 states: "Government business shall be conducted in a manner

above reproach and, except as authorized by statue or regulation, with complete impa1iiality and

with preferential treatment for none. Transactions relating to the expenditure of public funds

require the highest degree of public tmst and an impeccable standard of conduct."

        161.     48 C.F.R. § 15.305(a) states: "An agency shall evaluate competitive proposals and

then assess their relative qualities solely on the factors and subfactors specified in the solicitation."

        162.     Similarly, 10 U.S.C. § 2305(b)(1) requires: "The head of an agency shall evaluate

sealed bids and competitive proposals and make an award based solely on the factors specified in

the solicitation."




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        163.     DLA acted arbitrarily, capriciously, and contnuy to law when it -




        164.     DLA's failme to properly evaluate Quantico's Proposal according to the te1ms of

the RFP prejudiced Quantico because it denied Quantico the opportunity to fairly compete for the

award of the contract.

        165.     Quantico has no adequate remedy at law to challenge DLA's action.

        166.     The public interest will be served by proper enforcement of procmement law.

        167.     DLA will not be prejudiced by complying with procmement laws.

                                           COUNT VIII

                                     INJUNCTIVE RELIEF

        168.     Quantico inco1porates by reference paragraphs 1-167 of the Complaint as if fully

set fo1i h herein.

        169.     Quantico has been damaged or will be damaged by the acts of DLA.

        170.     If DLA is pennitted to continue to engage in unlawful acts, Quantico will continue

to be denied its legal right to fairly compete for the award of the contract.

        171.     Quantico has no adequate remedy at law to challenge DLA's action.

        172.     The public interest will be served by proper enforcement of procmement laws.

        173.     DLA will not be prejudiced by complying with procmement laws.




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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment against the

United States and further requests:

       A.




       I
-      I
-      I

       I
       I



       I


       H.      The award of protest costs, including legal fees, and such other relief as appropriate.

       I.      Any other relief that this Comi deems just and proper under the circumstances.



Dated this 3rd day of Febm aiy 2020.




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                                        Respectfully submitted,

Of Counsel:
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